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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                    PIKEVILLE

 BILLY COMBS, et al.,                        )
                                             )
        Plaintiffs,                          )               Civil No. 12-47-ART
                                             )
 v.                                          )
                                             )
                                             )                      ORDER
 RGS FINANCIAL, INC.,
                                             )
         Defendant.                          )
                                             )
                                     *** *** *** ***

       On August 10, 2012, the plaintiff filed a notice voluntarily dismissing this case with

prejudice. Under Federal Rule of Civil Procedure 41(a)(1)(A)(i), a plaintiff may dismiss an

action without court order by filing a notice of dismissal “before the [defendant] serves either

an answer or a motion for summary judgment.” The defendant, RGS Financial, Inc., has not

yet filed an answer or a motion for summary judgment. Accordingly, it is ORDERED that

this case is DISMISSED WITH PREJUDICE. The Clerk shall STRIKE this case from the

Court’s active docket.

       This the 14th day of August, 2012.
